                    Case: 25-1558
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                                                                    CIRCUIT

                                                   No. 25-1558

                       Atlas Data Privacy Corporation, et al.   vs. DM Group Inc., et al.

                                               ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 DM Group Inc.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)               ✔ Appellant(s)
                                         ____                                ____ Intervenor(s)

         ____ Respondent(s)              ____ Appellee(s)                    ____ Amicus Curiae

(Type or Print) Counsel’s Name Stephanie    L. Jonaitis, Esq.
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                                  ____ Mr.      ✔ Ms.
                                              ____        ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Stephanie L. Jonaitis

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waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
